          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      CHARLOTTE DIVISION

                     CRIMINAL CASE NO. 3:07cr211


UNITED STATES OF AMERICA, )
                          )
                          )
              vs.         )                      ORDER
                          )
                          )
VICTORIA L. SPROUSE.      )
                          )



      THIS MATTER is before the Court on the Government’s Motion to

Dismiss Certain Counts [Doc. 258].

      Prior to the trial of this matter the Court granted motion(s) to sever

certain counts as set out in the Fourth Superseding Indictment. The

Government now seeks to dismiss those counts without prejudice. The

Court will grant the motion to dismiss those severed counts, namely counts

28 through 34 as set out in the Fourth Superseding Indictment. Said

dismissal is without prejudice. The Court, however, takes no position on

other matters referenced in the motion, such as the tolling of the statute of

limitations.

      IT IS, THEREFORE, ORDERED that the Government’s Motion to



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Dismiss Certain Counts [Doc. 258] is hereby GRANTED.




                                   Signed: May 26, 2009




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